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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY


   IN RE VALSARTAN,
   LOSARTAN, AND IRBESARTAN                                           MDL No. 2875
   PRODUCTS LIABILITY
   LITIGATION
                                                              HON. ROBERT B. KUGLER
   THIS DOCUMENT RELATES TO ALL                                MDL NO. 19-2875 (RBK)
   CASES



                                  CERTIFICATE OF SERVICE

         I hereby certify that on June 16, 2022, I electronically filed a partially redacted version of

  the Plaintiffs’ Reply Brief in Support of their Daubert Motion to Preclude Defense Expert David

  L. Chesney from Offering Class Certification Opinions as well as my Supporting Certification

  with the Clerk of the Court using CM/ECF system which will send notification of such filing to

  the CM/ECF participants registered to receive service in this MDL. In addition, I hereby certify

  that unredacted copies of foregoing document will be served contemporaneous to filing via email

  on   the   Court,    Special     Master,    and     the   Defense     Executive     Committee      at

  DECValsartan@btlaw.com.


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                                                By:    /s/ Adam M. Slater
  Dated: June 16, 2022
